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      UNITED STATES COURT OF INTERNATIONAL TRADE
      BEFORE THE HONORABLE M. MILLER BAKER, JUDGE


SAHAMITR PRESSURE
CONTAINER PLC.,
              Plaintiff,
and
WORLDWIDE DISTRIBUTION,
LLLP,
              Plaintiff-Intervenor,

v.                                       Court No. 22-00107
UNITED STATES,
              Defendant,
and
WORTHINGTON INDUSTRIES,
              Defendant-Intervenor.



          MEMORANDUM OF POINTS AND AUTHORITIES
         IN SUPPORT OF PLAINTIFF’S RULE 56.2 MOTION
          FOR JUDGMENT UPON THE AGENCY RECORD

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August 16, 2022
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I.          STATEMENT PURSUANT TO USCIT R. 56.2(c)

            A.    Administrative Determination to Be Reviewed

            Plaintiff Sahamitr Pressure Container Plc. (“SMPC”) (“Plaintiff”)

     contests    the    final   results   issued   by     the     International     Trade

     Administration of the Department of Commerce (“Department”) in the

     first administrative review of the antidumping duty (“ADD”) order on

     steel propane cylinders from Thailand (Case No. A-549-839) (“Final

     Results”) (“POR1 Review”). The period of review (“POR”) was December

     27, 2018, through July 31, 2020.          Notice of the Final Results was

     published in the Federal Register on March 7, 2022. Appx1630-1631;

     see also Appx1317-1327.

            B.    Question Presented and Summary of Argument

                  1.    Was the Department’s use of a POR-wide allocation for
                        SMPC’s certification expenses supported by substantial
                        evidence and otherwise in accordance with law?

            The Department is required to adjust normal value by the amount

     of “any difference” between the export price and normal value due to

     “differences      in   the    circumstances        of      sale.”       19    U.S.C.

     § 1677b(a)(6)(C)(iii).     The Department makes such “circumstances of

     sale adjustments” for “direct selling expenses.” 19 C.F.R. § 351.410(b)-

     (c).   The Department prefers transaction-specific reporting of direct
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selling expenses, but uses allocated expenses when such expenses

cannot be reported on a transaction-specific basis.            See 19 C.F.R.

§ 351.401(g)(1). A respondent must demonstrate that an “allocation is

calculated on as specific a basis as is feasible” in light of the data

gathered in the ordinary course of business. 19 C.F.R. § 351.401(g)(2)-

(3).

       SMPC reported certification fees as “other direct selling expenses”

incurred on sales of the subject merchandise.         SMPC was unable to

report these expenses on a transaction-specific basis using the data

recorded in the ordinary course of business. Therefore, in accordance

with the Department’s specific request, SMPC reported the expenses by

market and by month. This was “as specific a basis” as was “feasible.”

Nevertheless, in the Final Results the Department disregarded the

expenses as reported and used general, POR-average expenses.

       In light of the Department’s regulations that require respondents

to report direct selling expenses as specifically as possible, its

determination to use general POR-average expenses in place of SMPC’s

more specific expenses was unsupported by substantial evidence and

otherwise not in accordance with law.



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II.        STATEMENT OF FACTS

           Pursuant to requests filed by SMPC and Petitioner Worthington

      Industries   (“Petitioner”),   the    Department      initiated     the      first

      administrative review of the ADD order on steel propane cylinders from

      Thailand on October 6, 2020. Appx6295, Appx6299. On November 3,

      2020, the Department issued the initial questionnaire (“Initial

      Questionnaire”) to SMPC, the sole respondent subject to the review.

      Appx6013.

           SMPC reported in its home-market and US sales databases

      whether each steel propane cylinder was certified, and the type of

      certification issued.    Appx2286, Appx2327.         SMPC also reported

      certification expenses (e.g., testing and inspection services performed by

      third parties) as direct selling expenses in Field CERTFEEH of its

      home-market sales database, and Field CERTFEEU of its U.S. sales

      database. Appx2352, see also Appx2752-2785. The company attributed

      certification fees to individual sales by deriving a ratio that it applied to

      the gross-unit price of each sale. Appx2352. In its response to the

      Initial Questionnaire, SMPC provided a worksheet demonstrating how

      it derived the ratio (allocating certification expenses over revenues) and



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accounting system screenshots to support the expenses reported.

Appx2752-2785.

     In its first supplemental sales questionnaire, based on Petitioner’s

suggestion, the Department requested that SMPC explain how it

recorded certification expenses in the ordinary course of business; why

SMPC could not record them on a more specific basis; and why SMPC’s

allocation methodology did not cause inaccuracies or distortions.

Appx3450; see also Appx3426. Referring to the documentation provided

in its Initial Questionnaire response, SMPC explained that, because it

paid certification fees to outside vendors on a lump-sum basis after

production and sale of the merchandise, it could not attribute individual

certification expenses to individual sales invoices. Appx 3654. SMPC

further explained that the expense allocation it had used was “the most

accurate basis” on which it could report certification expenses “using

the books and records the company maintains in the normal course of

business. . . .” Id. SMPC highlighted the fact that the Department had

accepted this methodology in the original investigation (“OI”).             Id.

Pursuant to the Department’s requests, SMPC also provided a sample

purchase order, sample invoices, and additional accounting-system



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screenshots to demonstrate how SMPC recorded its accounts payable,

expenses, and payments relevant to its incurrence of certification

expenses. Appx3834-3842.

      In its second round of deficiency comments, Petitioner continued

to argue that SMPC’s certification expense data were insufficiently

specific and urged the Department to request market-specific, monthly-

specific, and vendor-specific data.     Appx4385-4389.        In its second

supplemental sales questionnaire, the Department requested a list of

all vendors that provided certification services; instructed SMPC to

revise its sales databases to calculate per-unit certification expenses on

a market- and month-specific basis; and requested the invoices

corresponding to the largest certification expense in each market during

the POR. Appx5587. SMPC complied with each request. Appx5596-

5597, Appx5605-5636. The Department did not issue any additional

supplemental questionnaires or otherwise instruct SMPC to revise its

reporting of certification fees.

      Petitioner submitted “pre-preliminary comments” in which it

urged the Department to reject the month- and market-specific

certification fee reporting that it had specifically requested, and instead



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use a POR-wide average certification expense ratio in each respective

market.     See Appx5707-5710.          SMPC filed rebuttal comments,

explaining that there was no justification for the Department to

disregard its certification expense data, which was the most specific

data feasible using the data recorded in the ordinary course of business.

Appx6264-6266.

     The Department issued is preliminary results on September 2,

2021 (“Preliminary Results”), assigning SMPC a dumping margin of

14.11 percent and adopting Petitioner’s approach on certification

expenses.   Appx1307-1309; see also Appx1007-1018, Appx1025.                 The

Department justified its decision to disregard SMPC’s reported market-

and month-specific certification expenses by stating that SMPC’s

allocation method was distorted “due to timing differences between

when SMPC produces and sells cylinders and when it records the

certification expenses associated with those sales” and that “{t}hese

timing differences create monthly fluctuations in SMPC’s reported

certifications expenses. . . .” Appx1025.

     In its case brief, SMPC argued that the Department’s methodology

contradicted its practice of using the most detailed expense data



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       available.   See Appx5949-5951. Consequently, SMPC explained, the

       Department calculated a “less accurate and more distorted dumping

       margin” than if SMPC’s reported expenses were used. Appx5950.

              In the Final Results, the Department corrected two ministerial

       errors, assigning SMPC a final dumping margin of 13.89 percent.

       Appx1630. However, the Department continued to use the POR-wide

       allocation method for certification expenses, repeating the same

       explanation it had used in the Preliminary Results and asserting that

       the   revised   allocation   method was      consistent       with 19    C.F.R.

       § 351.401(g). Appx1323.

III.          STANDARD OF REVIEW

              In reviewing a challenge to the Department’s determination in an

       AD proceeding, the Court “shall hold unlawful any determination,

       finding, or conclusion found . . . to be unsupported by substantial

       evidence on the record, or otherwise not in accordance with law . . . .”

       19 U.S.C. § 1516a(b)(1)(B)(i).

              Substantial evidence means “such relevant evidence as a

       reasonable mind might accept as adequate to support a conclusion.”

       Universal Camera Corp. v. NLRB, 340 U.S. 474, 477 (1951). For a



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determination to be supported by substantial evidence, there must be a

rational connection between the facts on the record and the choice made

by the Department. See Burlington Truck Lines, Inc. v. United States,

371 U.S. 156, 168 (1962).      The existence of substantial evidence is

determined “by considering the record as a whole, including evidence

that supports as well as evidence that ‘fairly detracts from the

substantiality of the evidence.’” Huaiyin Foreign Trade Corp. v. United

States, 322 F.3d 1369, 1374 (Fed. Cir. 2003) (quoting Atlantic Sugar,

Ltd. v. United States, 744 F.2d 1556, 1562 (Fed. Cir. 1984)). “{I}t is . . .

well-established that Commerce’s total failure to consider or discuss

record evidence which, on its face, provides significant support for an

alternative   conclusion   renders    the   Department’s       determination

unsupported by substantial evidence.”        Allegheny Ludlum Corp. v.

United States, 112 F. Supp. 2d 1141, 1165 (Ct. Int’l Trade 2000).

     A determination based on inadequate reasoning or conjecture

cannot survive the “substantial evidence” standard of review. See Chr.

Bjelland Seafoods A/S v. United States, 19 C.I.T. 35, 37 (1995) (citing

USX Corp. v. United States, 655 F. Supp. 487, 489 (Ct. Int’l Trade

1987)); Yangzhou Bestpak Gifts & Crafts Co. v. United States, 716 F.3d



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      1370,        1378   (Fed.   Cir.     2013)   (stating    that   the   Department’s

      determination cannot be made “on the basis of mere conjecture or

      supposition”); Jinan Yipin Corp. v. United States, 526 F. Supp. 2d 1347,

      1375 (Ct. Int’l Trade 2007) (remanding where the Department’s

      determination was based on “mere assumptions, which find no apparent

      support in record evidence”).

IV.           ARGUMENT

              The Court should remand the Department’s Final Results as

      unsupported by substantial evidence and contrary to law. In using a

      POR-wide average in place of SMPC’s reported certification expenses,

      which were as specific as feasible using the data kept in the ordinary

      course of business, the Department disregarded substantial record

      evidence and failed to comply with its regulations and practice.

              A.     The Department’s Use of a POR-Average Allocation Method
                     in Place of SMPC’s Reported Monthly- and Market-Specific
                     Certification Expenses Was Unsupported by Substantial
                     Evidence and Otherwise Not in Accordance with Law

              The Department is required to adjust normal value by the amount

      of “any difference” between the export price and normal value due to

      “differences        in   the       circumstances    of    sale.”        19    U.S.C.

      § 1677b(a)(6)(C)(iii).      The Department will make circumstance-of-sale


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adjustments for “direct selling expenses,” which are expenses that

result from and “bear a direct relationship to” a particular sale. 19

C.F.R. § 351.410(b)-(c).      See also Uruguay Round Agreements Act,

Statement of Administrative Action, H.R. 103-316, vol. 1, at 828 (1994),

reprinted in 1994 U.S.C.C.A.N. 4040, 4167. The Department prefers

transaction-specific reporting, but uses allocated expenses when

transaction-specific   reporting    is    not      available.        19    C.F.R.

§ 351.401(g)(1).    Parties reporting on an allocated basis must

demonstrate that “the allocation is calculated on as specific a basis as is

feasible” using the data kept in the ordinary course of business. 19

C.F.R. § 351.401(g)(2)-(3).

     SMPC derived per-unit certification expenses and reported them

as direct selling expenses in Field CERTFEEH and Field CERTFEEU

of the company’s home market and US sales databases, respectively.

Appx2352, Appx2752-2785. SMPC also fully responded to each of the

Department’s additional requests, and in particular reported monthly

certification expenses for home-market and US sales. Appx5605-5616.

SMPC reported these expenses as specifically as possible, providing

extensive documentation from its books and records to support its



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allocation methodology. Id.; see also Appx3834-3842; Appx5596-5597,

Appx5616-5636.

       The Department has stated that “because all allocation methods

are, in some sense, inexact, {it} intends to reject only those allocations

methods that produce unreasonable inaccuracies or distortions.”

Antidumping Duties; Countervailing Duties, 62 Fed. Reg. 27,296,

27,346 (May 19, 1997) (emphasis added). It is unclear why SMPC’s

certification expenses – reported per the Department’s instructions –

were    so   unreasonably   inaccurate   that   an   alternate     allocation

methodology was warranted.

       The Department’s approach therefore fails the substantial

evidence standard, which requires the Department to consider all

record evidence, and requires a rational connection between the facts on

the record and the choice made by the Department. See, e.g., Rebar

Trade Action Coalition v. United States, 398 F. Supp. 3d 1374, 1379 (Ct.

Int’l Trade 2019); CS Wind Viet. Co. v. United States, 832 F.3d 1367,

1376 (Fed. Cir. 2016); Motor Vehicle Mfrs. Ass'n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). The record lacks

substantial evidentiary support for the Department’s decision to use a



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POR-wide allocation method in place of SMPC’s reported certification

expenses, the most detailed record information available.

     The Department’s approach is also contrary to law.                     The

Department’s regulations require allocation of expenses “on as specific a

basis as is feasible.” 19 C.F.R. § 351.401(g)(2). In determining whether

an allocation is as specific as feasible, the Department must consider

the respondent’s books and records kept in the ordinary course of

business and the normal accounting practices in the relevant country

and industry.    19 C.F.R. § 351.401(g)(3).   If an allocation reflects a

respondent’s normal books and records and the “underlying expenses

are general in nature,” the Department has found this to be “as specific

a basis as feasible.” See, e.g., Certain Orange Juice from Brazil: Final

Results of Antidumping Duty Administrative Review, 74 Fed. Reg.

40,167   (Aug.   11,   2009),   accompanying      Issues     and    Decision

Memorandum at 17; Antifriction Bearings (Other Than Tapered Roller

Bearings) and Parts Thereof From France, Germany, Italy, Japan,

Romania, Singapore, Sweden, and the United Kingdom; Final Results

of Antidumping Duty Administrative Reviews, 63 Fed. Reg. 33,320,

33,326, 33,340 (June 18, 1998) (finding one respondent to have reported



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allocated rebates “as specifically as feasible, given the records {it} keeps

in its normal course of business” and another’s allocations to be

“potentially distortive” but not “unreasonably distortive”).

     Although the Department can reject a respondent’s allocated

expenses if they are distortive, the distortion must be “substantial” or

“unreasonable.” See, e.g., NSK Ltd. v. United States, 510 F.3d 1375,

1381-83 (Fed. Cir. 2007) (“NSK”); Ball Bearings and Parts Thereof from

France, Germany, Italy, Japan, and the United Kingdom, 71 Fed. Reg.

40,064 (July 14, 2006), accompanying Issues & Decision Memorandum

at 67. (“Ball Bearings 2006 AR IDM”). In NSK v. United States, the

Federal Circuit upheld Commerce’s determination that the respondent’s

allocated expenses were “unreasonably distortive” because some

adjustments related entirely to transactions outside the POR or

transactions that did not involve subject merchandise. NSK, 510 F.3d

at 1381-83. Likewise, in Ball Bearings and Parts Thereof from France,

Germany, Italy, Japan, and the United Kingdom, the Department found

that allocated expenses related to discounts, applied through a factor,

“did not bear any relationship to the discounts that {the respondent}

granted.” Ball Bearings 2006 AR IDM at 67.



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          SMPC’s data, by contrast, related only to expenses incurred

     during the POR on sales of the subject merchandise. SMPC replied

     fully to each of the Department’s questions, using information from its

     normal books and records and providing data in precisely the format

     the Department requested. Therefore, the Department failed to comply

     with its regulations, which require using data that is as specific as

     feasible, when it chose a POR-average allocation method over SMPC’s

     monthly and market-specific expenses.

V.        CONCLUSION AND RELIEF SOUGHT

          For the reasons discussed above, Plaintiff respectfully requests

     that the Court:

          1)      Enter judgment in favor of Plaintiff;

          2)      Hold and declare that the Department’s failure to use

                  SMPC’s reported certification expenses in the Final

                  Results is unsupported by substantial evidence and

                  otherwise not in accordance with law;

          3)      Remand this matter to the Department to issue revised

                  final results in conformity with the Court’s decision; and




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     4)     Grant Plaintiff such additional relief as the Court may

            deem just and proper.

                                Respectfully submitted,


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Date: August 16, 2022




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                  CERTIFICATE OF COMPLIANCE

     I, David E. Bond, certify that the attached brief complies with the
word limitation requirement, as stated in the Standard Chambers
procedures. The word count for Plaintiff’s Rule 56.2 Brief, as computed
by the White & Case word processing system (Microsoft Word 2016), is
3,103.


                                      /s/ David E. Bond
                                      David E. Bond
